Case: 23-11975 Doc:1_ Filed: 07/27/23 Page: 1 of 36

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United States Bankruptcy Court for the:

WESTERN DISTRICT OF OKLAHOMA, OKLAHOMA DIVISION a L r)
3
oo

Case number (if known) Chapter ti

oO ni 4 this an amended

maf} UL 27 P 2: 35

DOUGLAS £ é, WER 'GE, CLERK

2%, BREESE Re pt
Official Form 201 WaSranay rep COURT

Voluntary Petition for Non-Individuals Filing for Bankruptcy2"UTY_: 04/22

f more space ts needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
‘or more information, a separate document, /nstructions for Bankruptcy Forms for Non-individuals, is avaltable.

1. Debtor's name Heritage Funeral Home & Cremation Servic

2, All other names debtor
used in the last 8 years
Include any assumed Heritage Funeral Hom Services, LLC

names, trade names and
doing business as names

3. Debtor's federal Employer
Identification Number XX-XXXXXXX

(EIN)
4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
1300 N Lottie Ave 1300 N Lottie Ave
Oklahoma City, OK 73117-2000 Oklahoma City, OK 73117-2000
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Oklahoma Location of principal assets, if different from principal
County place of business

1300 N Lottie Ave Oklahoma City, OK 73117-2000
Number, Street, City, State & ZIP Cade

§. Debtor's website (URL)

6. Type of debtor @ Corporation (including Limited Liabiity Company (LLC) and Limited Liability Partnership (LLP))
O Partnership (excluding LLP)
1 Other. Specify:

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page i
Debtor ~—_ Heritage Funeral Home & Cremation Servic Case number (if xnown)

Case: 23-11975 Doc:1_ Filed: 07/27/23 Page: 2 of 36

Name

7. Describe debtor's business

A. Check one:

0 Heatth Care Business (as defined in 11 U.S.C. § 101(27A))
O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)}
0 Raitroad (as defined in 11 U.S.C. § 101(44))

C1] Stockbroker (as defined in 11 U.S.C. § 101(53A)}

O Commodity Broker (as defined in 11 U.S.C. § 101(6))

0 Clearing Bank (as defined in 11 U.S.C. § 781(3))

@ None of the above

B. Check ail that apply

Ui Tax-exempt entity (as described in 26 U.S.C. §501)

OC Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
CO Investment advisor (as defined in 15 U.S.C, §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Awww.uscourts.gov/four-digit-national-association-naics-codes.

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

Check one:
DO Chapter 7
© Chapter 9

Mi Chapter 11. Check alf that apply.

M Debtor's aggragate noncantingent liquidated debts (excluding debts owed to insiders or affiliates) are
fess than $3,024,725 (amount subject to adjustment on 04/01/25 and every 3 years after that).

H@ The debtor is a smail business debtor as defined in 11 U.S.C. § 101(51D)., If the debtor is a smail

business debtor, attach the most recent balance sheet, statement of operations, cash-flow statement,

and federal income tax return, or if all of these documents do not exist, follow the procedure in 11

U.S.C. § 1116(4)(B).

GJ Ls The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D) and it chooses to proceed

under Subchapter V of Chapter 11.
A plan is being filed with this petition.

oo0

accordance with 11 U.S.C. § 1126(b).

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in

The debtor is required to fite periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 of 15(d) of the Securities Exchange Act of 1934. File the
Affachment to Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 11 (Official

Form 201A) with this form.

1 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

D Chapter 12

9. Were prior bankruptcy

cases filed by or against the

debtor within the last 8
years?

lf more than 2 cases, attach a
separate list.

B No.
O Yes.

District When Case number

District When Case number

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 2
Case: 23-11975 Doc:1 _ Filed: 07/27/23 Page: 3 of 36
Debtor —_ Heritage Funeral Home & Cremation Servic Case number (if known)
Name

10. Are any bankruptcy cases HNo

pending or being filed by a oO

business partner or an Yes.

affiliate of the debtor?

List all cases. If more than 1, . .

attach a separate list Debtor Relationship

District When Case number, if known

11. Why is the case filed in Check all that apply:

this district?

H Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

OA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

BNo

Dyes, Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)
CJ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

C1 It needs to be physically secured or protected from the weather.

C1 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

O other

Where is the property?

Number, Street, City, State & ZIP Code
Is the property insured?
ONo

OyYes. Insurance agency

Contact name

Phone

BD statistica and administrative information

13. Debtor's estimation of
available funds

Check one:

O Funds will be available for distribution to unsecured creditors.

BB After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of Bi 1-49 O 1,000-5,000 CZ 25,001-50,000
creditors O50-99 CO 5001-10,000 C 50,001-100,000
0 100-199 0 10,001-25,000 0 More than100,000
0 200-999
15. Estimated Assets so - $50,000 O $1,000,001 - $10 million C $500,000,004 - $1 billion

O $50,001 - $100,000
O $100,001 - $500,000
0) $500,001 - $1 million

(1 $10,000,001 - $50 million
0 $50,000,001 - $100 million
D1 $100,000,001 - $500 million

0 $1,000,000,001 - $10 billion
0) $10,000,000,001 - $50 billion
OO Mere than $50 billion

16. Estimated liabilities

Official Form 201

O $0 - $50,000

0 $1,000,001 - $10 million

Voluntary Petition for Non-Individuals Filing for Bankruptcy

CO $500,000,001 - $1 billion

page 3
Case: 23-11975

Debtor Heritage Funeral Home & Cremation Servic

Doc:1 Filed: 07/27/23 Page: 4 of 36

Name

OF $50,001 - $100,000
@ $100,001 - $500,000
(J $500,001 - $1 million

Case number (if known)
0 $10,000,001 - $50 mittion 01 $1,000,000,601 - $10 biltion
D1 $50,000,001 - $100 million 0 $10,000,000,001 - $50 billion
1 $100,000,001 - $500 million Oi More than $50 billion

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
Case: 23-11975 Doc:1_ Filed: 07/27/23 Page: 5 of 36

Haritage Funeral Home & Cremation Servic Case number (if known)
Namo

Debtor

BE Request for Relief, Declaration, and Signatures

WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can resutt in fines up to $500,000 or imprisonment
for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor

I have been authorized to file this petition on behalf of the debtor.

I have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the /37/)4 and correct.

Executed on 7 / 4

X isi Chr Che: J. Harrison, Sr. Christopher J. Harrison, Sr.
Signature of authorized representative of debtor Printed name

Title Managing Partner
Log HIH-5100

18. Signature of attorney X tetGhsotemmevianra Date deme?
Signature of attorney for debtor MM/DD/YYYY

Printed name

Opn tea

Firm name

r, Street, City, State & ZIP Code

a Pee

Number

Contact phone Repersass—— Emailaddress cawlaw@hotmail.com

Bar d State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 5
Case: 23-11975 Doc:1_ Filed: 07/27/23

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Debtorname Heritage Funeral Home & Cremation Servic

United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA, OKLAHOMA DIVISION

Case number (if known)

Official Form 206Sum

Page: 6 of 36

OO Check if this is an
amended filing

Summary of Assets and Liabilities for Non-individuals 12/15
Summary of Assets
1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
ta. Real property:
Copy line 88 fromSchedule A/B. $ 0.00
1b. Total personal property:
Copy line 91A fromSchedule A/B $ 37,300.00
1c. Total of all property:
Copy line 92 fromSchedule A/B. $ 37,300.00
EXER Summary of Liabilities
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column AAmount of claim, from tine 3 of Schedule D. $ 0.00
3, Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 208E/F)
3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from fine 5a ofchedule EFF. $ 295,167.65
3b, Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 fram line 5b dchedule EFF. +5 48,989.39
4. Tetal liabilities
Lines 2 + 3a + 3b $ 344,157.04
Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1

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Case: 23-11975 Doc:1_ Filed: 07/27/23 Page: 7 of 36

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Debtorname Heritage Funeral Home & Cremation Servic

United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA, OKLAHOMA DIVISION

Case number (if known)

O Check if this is an
amended filing

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 1215

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property In which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule AJB, list any executory contracts or unexpired
leases. Also list tham on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number {if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's Interest, do not deduct the value of secured claims. See the Instructions to understand the terms used in this form.

izle Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

OINo. Go to Part 2.

BB Yes Fill in the information betow.

All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

3. Checking, savings, money market, or financial brokerage accounts (identify ail)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
Operating Checking
3.1. Midfirst Bank Account 8414 $1,200.00
3.2. First Security Bank and Trust Savings 9617 $2,000.00

4. Other cash equivalents (Identify ai)

5, Total of Part 1.
Add tines 2 through 4 {including amounts on any additional sheets). Copy the total to line 80.

$3,200.00

Deposits and Prepayments
&. Does tha debtor have any deposits or prepayments?

Wi No. Goto Part 3.
C1] Yes Fill in the information below.

ara Accounts receivable
10. Does the debtor have any accounts receivable?

W No. Go to Part 4.
OD Yes Fill in the information below.

investments

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1

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Case: 23-11975 Doc:1_ Filed: 07/27/23 Page: 8 of 36

Debtor Heritage Funeral Home & Cremation Servic Case number (if known}
Name

13. Does the debtor own any investments?

Gi No. Go to Part 5.
C1 Yes Fill in the information below.

Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

Ml No. Go to Part 6.
CO Yes Fill in the information below.

climen Farming and fishing-related assots (other than titled motor vehicles and land)
27, Does the debtor own or lease any farming and fishing-related assets (other than titted motor vehicles and land)?

Mi No. Go to Part 7.
Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

CINo. Goto Part 8.
@ Yes Fill in the information betow.

General description Net book value of Valuation method used Current vaiue of
debtor's interest for current valus debtor's interest
(Where available)

39. Office furniture
40. Office fixtures
41. Office equipment, including all computer equipment and

communication systems equipment and software
2 Laptops $600.00 $600.00

9 Sets of Church Trucks (Metal platform

caskets sit on) $2,760.00 $2,700.00
2 Duo Tronic Embalming Machines $2,400.00 $2,400.00
One Porcelain Embalming Table $3,500.00 $3,500.00
1 Removal Cot $150.00 $150.00
3 Office Desks $1,150.00 $1,150.00
1 Conference Table $750.00 $750.08
2 Love Seats $2,500.00 $2,500.00
1 Coffee Table $500.00 $500.00
One Couch Table $350.00 $350.00
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2

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Case: 23-11975 Doc:1 _ Filed: 07/27/23 Page: 9 of 36

Debtor Hortage Funeral Home & Cremation Servic Case number (If known)
ame
6 Confernence Room Tables and chairs $1,200.00 $1,200.00
6 Standard Armchairs $1,800.00 $1,800.00
2 Laser Printer Copiers $800.00 $800.00
4 - 32 inch Flat screen TV's $1,600.00 $1,600.00
Misc. Register Books Flag Cases $500.00 $500.00

6 Used 20 Guage Steel Casket's multiple
colors $3,600.00 $3,600.00

42, Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books,
pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections;
other collections, memorabilia, or collectibles

43. Total of Part 7. $24,100.00
Add lines 39 through 42. Copy the total to line 86.
44, Is a depreciation schedule available for any of the property listed in Part 7?
Bno
O Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
HNo
O Yes
ecu aeh Machinery, equipment, and vehicles

46, Does the debtor own or lease any machinery, equipment, or vehicles?

CINo. Go to Part 9.
B Yes Fill in the information below.

General description Net book value of Valuation method used Current value of
Include year, make, model, and identification numbers (i.e., debtor's interest for current value debtor's interest
VIN, HIN, or N-number) (Where available)

47, Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. 2000 Cadillac

Title held in Heritage Funeral Holding
Company $10,000.00 $10,000.00

48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, floating
homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
machinery and equipment)

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3

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Case: 23-11975 Doc:1 Filed: 07/27/23 Page: 10 of 36

Debtor Heritage Funerat Home & Cremation Servic Case number (if known)
Name
51. Total of Part 8. $10,000.00
Add lines 47 through 50. Copy the total to line 87.
52, ts a depreciation schedule available for any of the property listed in Part 8?
BNo
0 Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
WNo
D Yes
Real property
54. Does the debtor own or lease any real property?
Mi No. Go to Part 10.
O Yes Fill in the information below.
Intangibles and intellectual property
59. Does the debtor have any Interests In intangibles or intellectual property?
GNo. Go to Part 11.
0 Yes Fitl in the information below.
ore All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.
MINo. Goto Part 12.
D Yes Fill in the information below.
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 4

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Case: 23-11975

Debtor Heritage Funeral Home & Cremation Servic

Doc: 1 Filed: 07/27/23

Case number (if known)

Name

GEREN 22027

(tn Part 12 copy all of the totals from the earlier parts of tha form

80.

81.

92.

Official Form 206A/B

. Real property. Copy fine 56, Part 9

. Total. Add lines 80 through $0 for each column

Page: 11 of 36

Type of Property

Cash, cash equivalents, and financial assets.
Capy line 5, Part 1

Deposits and prepayments. Copy line 9, Part 2.

. Accounts receivable. Capy line 12, Part 3.

. tnvestments. Copy line 17, Part 4.

tnventory. Copy line 23, Part 5.

. Farming and fishing-related assets. Copy line 33, Part 6.

. Office furniture, fixtures, and equipment; and collectibles.

Copy line 43, Part 7.

. Machinery, equipment, and vehicles. Copy line 51, Part 8.

“Current value of —
personal property

$3,200.00

$0.00

$0.00

$0.00

$0.00

$0.00

$24,100.00

$10,000.00

(Intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 11.

$0.00

+ $0.00

- Current value of, real

-properly

$0.00

$37,300.00

+ 91b.

$0.00

Total of all property on Schedule A/B. Add lines 91a+91b=92

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$37,300.00

Schedule A/B Assets - Real and Personal Property

page 5
Case: 23-11975 Doc:1 Filed: 07/27/23 Page: 12 of 36

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Debtorname Heritage Funeral Home & Cremation Servic

United States Bankruptcy Court forthe: WESTERN DISTRICT OF OKLAHOMA, OKLAHOMA DIVISION

Case number (if known)

0) Check if this is an
amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 1215

Boas plete and as Ib!

p

1. Do any creditors have cialms secured by debtor's property?

8 No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
C1 Yes. Fill in ail of the information below.

Officia! Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1

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Case: 23-11975 Doc:1 Filed: 07/27/23 Page: 13 of 36

SIM taem el iolen role(s talent tnt mer: Cio

Debtorname —_ Heritage Funeral Home & Cremation Servic

United States Bankruptcy Court forthe: WESTERN DISTRICT OF OKLAHOMA, OKLAHOMA DIVISION

Case number (if known)

OO Check if this is an
amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 42115

Bo as complete and accurate as Coreen Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any or pired leases that could result in a claim. Also liat executory contracts on Schedule A/B: Assets - Real and

Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the loft. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included In this form.

GEEEE List All Creditors with PRIORITY Unsecured Claims

1. Oo any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
11 No. Go to Part 2.

BB Vos, Go to line 2.

2. List in alphabatical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
priority unsecured claims, fill out and attach the Additional Page of Part 1.

Tota claim Priority amount

[27] Priority creditor's name and mailing address As of the petition filing date, the claim is: $3,038.44 $0.00

Oklahoma County Treasurer Check alt that apply.
Oo Contingent

320 Robert S Kerr 307 0 untiquidatea

Oklahoma City, OK 73102 C1 cisputea

Date or dates debt was incurred

2016

Basis for the claim:

Last 4 digits of account number 9255

Specify Code subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a} (8)

ts the claim subject to offset?
Mino
O yes

[22] Priority creditor's name and mailing address

As of the petition filing date, the clalm Is:

Oklahoma County Treasurer Check all that apply.
oO Contingent

320 Robert S Kerr 307 C1 untiquidated

Oklahoma City, OK 73102 C1 Disputed

Date or dates debt was incurred Basis for the claim:

2017

$3,035.44 $0.00

Last 4 digits of account number 9255

Specify Code subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (8)

Is the claim subject to offset?
ino
O ves

Official Form 206E/F

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Schedule E/F: Creditors Who Have Unsecured Clalms

Gese7

page 1 ofS
Case: 23-11975 Doc:1 _ Filed: 07/27/23

Debtor Heritage Funeral Home & Cremation Servic

Name

[23] Priority creditor's name and mailing address
Oklahoma County Treasurer

320 Robert S Kerr 307
Oklahoma City, OK 73102

Date or dates debt was incurred

2018

As of the potition filing date, the claim is;
Check alf that apply.

O) Contingent

C0 untiquidated

C1 pisputed

Basis for the claim:

Case number {f known)

Page: 14 of 36

$3,006.76 $0.00

Last 4 digits of account number 9255

Specify Cade subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (8)

Is the claim subject to offset?
Bno
O ves

Priority creditor's name and mailing address

Oklahoma County Treasurer

320 Robert S Kerr 307
Oklahoma City, OK 73102

Date or dates debt was incurred

2019

As of the potition filing date, the claim is:
Check all that apply.

Go Contingent

oO Uniiquidated

O Disputed

Basis for the claim:

$3,082.67 $0.00

Last 4 digits of account number 9255

Specify Code subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (8)

Is the claim subject to offset?
Bno
0 Yes

[2s | Priority creditor's name and maiting address
Oklahoma County Treasurer

As of the petition filing date, the claim is:
Check all that apply.

$2,967.33 $0.00

CO] Contingent
320 Robert S Kerr 307 0 untquidated
Oklahoma City, OK 73102 1 pisputed
Date or dates debt was incurred Basis for the claim:
2020
Last 4 digits of secount number 9255 Is the claim subject to offset?
Specify Code subsection of PRIORITY no
unsecured claim: 11 U.S.C. § 507(a) (8) Oves

Priority creditor's name and mailing address

Oklahoma County Treasurer

320 Robert S Kerr 307
Oklahoma City, OK 73102

Date or dates debt was incurred

2021

As of the petition filing date, the claim is:
Check ail that apply.

oO Contingent

0 unttquidatea

0 disputed

Basis for the claim:

$2,759.35 $0.00

Last 4 digits of account number 9255

Specify Cade subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (8)

Is the claim subjact to offset?
Hino
O ves

Official Form 206 G/F

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Schedule E/F: Creditors Who Have Unsecured Claims

Page 2 of 6
Case: 23-11975

Doc:1 Filed: 07/27/23

Page: 15 of 36

Debtor Heritage Funeral Home & Cremation Servic Case number (f known)
Neme
Priority creditor’s name and mailing address As of the petition filing date, the claim is: $2,468.73 $0.00
Oklahoma Tax Commission Check all that apply.
O Contingent
PO Box 26800 0 uniiquidated
Oklahoma City, OK 73126-0800 O disputed
Date or dates debt was incurred Basis for the claim:
8-1-2011 8/1/2011 to 2/29/2012 Sales Tax
Last 4 digits of accaunt number 6230 Is the claim subject to offset?
Specify Cede subsection of PRIORITY Bno
unsecured claim: 11 U.S.C. § 507(a) (8) O ves
Priority creditor's name and mailing address As of the petition filing date, the claim is: $942.10 $0.00
Oklahoma Tax Commission Check all that apply.
U1 Contingent
PO Box 26800 OD untiquidated
Oklahoma City, OK 73126-0800 O Disputed
Date or dates debt was incurred Basis for the claim:
8-1-2011 8/1/2011 to 2/29/2012 Penalty and Interest
Last 4 digits of account number 6230 Is the claim subject to offset?
Specify Code subsection of PRIORITY Hino
unsecured claim: 11 U.S.C. § 507(a) (8) O ves
Priority creditor's name and mailing address As of the petition filing date, the clalm Is: $649.80 $0.00
Oklahoma Tax Commission Check aif that apply.
oO Cantingent
PO Box 26800 0 uniiquidatea
Oklahoma City, OK 73126-0800 OQ Disputed
Cate or dates debi was incurred Basis for the claim:
3-1-2012 Sales Tax 3/1 to 5/31 of 2012
Last 4 digits of account number 6230 Is the claim subject to offset?
Specify Code subsection of PRIORITY Hino
unsecured claim: 11 U.S.C. § 507(a) (8) Oves
Priority creditor's name and mailing address As of the petition filling date, the claim is: $360.61 $0.00
Oklahoma Tax Commission Check all that apply.
O1 Contingent
PO Box 26800 D uniiguideted
Oklahoma City, OK 73126-0800 D Disputea
Date or dates debt was Incurred Basis fer the claim:
3-1-2012 3/1 to 5/31 of 2012 Penalty and Interest
Last 4 digits of account number 6230 Is the clalm subject to offset?
Specify Code subsection of PRIORITY Hino
unsecured claim: 11 U.S.C. § 507(a) (8) Cl ves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 6

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Case: 23-11975

Doc: 1 Filed: 07/27/23

Page: 16 of 36

Debtor Heritage Funeral Home & Cremation Servic Case number ¢f known)
Name
[217 | Priority creditor's name and maiting address As of the petition filing date, the claim is: $1,692.60 $0.00
Oklahoma Tax Commission Check ail that apply.
D Contingent
PO Box 26800 D uniiquidated
Oklahoma City, OK 73126-0800 O oisputed
Date or dates debt was incurred Basis for the claim:
01/01/2013 1/1/2013 to 5/31/2013 Sales Tax
Laat 4 digits of account number 6230 Is the claim subject to offset?
Specify Cade subsection of PRIORITY Bi no
unsecured claim: 11 U.S.C. § 507(a) (8) Dyes
[212— ] Priority creditor's name and mailing address As of the petition filing date, he ctaim is: $1,056.89 $0.00
Oklahoma Tax Commission Check alt that apply.
Oo Contingent
PO Box 26800 Tl untiquidated
Oklahoma City, OK 73126-0800 Cl disputed
Date or dates debt was incurred Basis for the claim:
01/01/2013 1/1/2013 to 5/31/2013 Penalty and Interest
Last 4 digits of account number 6230 !s the claim subject to offset?
Specify Code subsection of PRIORITY Hino
unsecured claim: 14 U.S.C. § 507(a) (8) Dyes
[213] Priority creditor's name and mailing address As of the petition filing date, the clalm is: $184,854.82 $0.00
Oklahoma Tax Commission Check alf that apply.
O Contingent
PO Box 26800 D untiquieated
Oklahoma City, OK 73126-0800 @ disputed
Date or dates debt was incurred Basis for the claim:
05/01/2015 5/1/2015 to 5/31/2015 Sales Tax
Last 4 digits of account number 6230 's the claim subject to offset?
Specify Code subsection of PRIORITY Bint
unsecured claim: 11 U.S.C. § S07(a} (8) Cves
Priority creditor's name and mailing address As of the petition filing date, the ctaim is: $83,981.90 $0.00
Oklahoma Tax Commission Check alt that apply.
DO contingent
PO Box 26800 O uniiquidated
Oklahoma City, OK 73126-0800 BB Disputed
Date or dates debt was incurred Basis far tha claim:
05/01/2015 5/1/2015 to 5/31/2015 Penalty and Interest
Last 4 digits of account number 6230 Is the claim subject to offset?
Specify Code subsection of PRIORITY Hino
unsecured claim: 11 U.S.C. § 507(a) (8) Dy
es
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Pago 4 of 6

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Case: 23-11975

Doc:1 Filed: 07/27/23

Page: 17 of 36

Debtor Heritage Funeral Home & Cremation Servic Case number €f known)
Name

[235] Priority creditor's name and mailing address As of the patition filing date, the claim is: $730.11 $0.00

Oklahoma Tax Commission Check aif that apply.
Oo Contingent

PO Box 26800 0 untiquidated
Oklahoma City, OK 73126-0800 CO oisputed
Date or dates debt was incurred Basis for the claim:
06/01/2015 6/1/2015 to 8/31/2016 Sales Tax
Last 4 digits of account number 6230 Is the claim subject to offset?
Specify Code subsection of PRIORITY Hino
unsecured claim: 11 U.S.C. § 507(a) (8) O ves

Priority creditor's name and mailing address As of the pstition filing date, the claim is: $540.10 $0.00

Oklahoma Tax Commission Check aif that apply.
C1 contingent
PO Box 26800 C1 untiquidated
Oklahoma City, OK 73126-0800 O Disputed
Date or dates debt was incurred Basis for the claim:
06/01/2015 6/1/2015 to 8/31/2016 Penaity and Interest
Last 4 digits of account number 6230 Is the claim subjact to offset?
Specify Code subsection of PRIORITY Bi no
unsecured claim: 11 U.S.C. § 507{a) (8) O ves

[GGEREAEE List All Creditors with NONPRIORITY Unsecured Claims

3. List in afphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriorily unsecured claims, fill

out and attach the Additional Page of Part 2.

Amount of claim

fair] Nonpriority creditor's name and malting address As of tha petition filing date, the claim is: Check aif that apply. $27,728.64
Green Box Capital D1 contingent
. oO Untiquidated
2200 Biscayne Blvd Ste 200 O pisputea
Miami, FL 33137-5016
Date(s) debt was incurred __ Basis for the clatm: _
Last 4 digits of account number _ Is the claim subject to offset? Mino (ves
[32_] Nonpriority crediter’s name and mailing address As of the petition filing date, the claim Is: Check aif that apply. $21,260.75

Oklahoma Mortuary Service
2424 N Oklahoma Ave
Oklahoma City, OK 73105-3005

Date(s) debt was incurred __

Last 4 digits of account number _

QO Contingent
D untiquidatea
o Disputed

Basis for the claim: __

Is the claim subject to offset? Mino O1 yas

GEREEEE List Cthers to Bo Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
of claims listed above, and attomeys for unsecured creditors.

tf no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Name and mailing address Gn which fine in Pertt or Part 2 is the Last 4 digits of
related creditor (If any} listed? account number, if
any
Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add tho amounts of priority and nonpriority unsacured claims.
Total of clalm amounts: ..”-
Officia) Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 6

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Case: 23-11975 Doc:1 _ Filed: 07/27/23 Page: 18 of 36

Debtor Heritage Funeral Home & Cremation Servic Case number (f known)
Name
Sa. Total claims from Part 1 Sa. $ 295,167.65
5b. Tatal claims from Part 2 Sb. + $ 48,989.39
5c. Total of Parts 1 and 2
Lines Sa + Sb = 5c. So. | S 344,157.04
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 6

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Case: 23-11975 Doc:1_ Filed: 07/27/23 Page: 19 of 36

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Debtornama Heritage Funeral Home & Cremation Servic

United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA, OKLAHOMA DIVISION

Case number (if known)

OO Check if this is an
amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
No, Check this box and file this form with the dabtor’s other schedules. There is nothing else to report on this form.

OD Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal —_ Property (Official
Form 206A/8).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

2.2 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

2.3 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

2.4 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
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Case: 23-11975 Doc:1 _ Filed: 07/27/23 Page: 20 of 36

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Debtorname Heritage Funeral Home & Cremation Servic

United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA, OKLAHOMA DIVISION

Case number (if known)

QO Check if this is an
amended filing

Official Form 206H
Schedule H: Your Codebtors 425

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

MH No. Check this box end submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
O Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
creditor is listed. If the codebter is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2: Creditor
Name Mailing Address Name Check all schedules
that apply:
2.1 Ooo
Street 0 EF
OG
City State Zip Code
2.2 Oo
Street O E/F
OG
City State Zip Code
2.3 . OD
Street OE/F
OG
City State Zip Code
24 OD
Street 0 EF
OG
City Slate Zip Code
Official Form 206H Schedule H: Your Codebtors Page 1 of 1

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Case: 23-11975 Doc:1 _ Filed: 07/27/23 Page: 21 of 36

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Debtorname Heritage Funeral Home & Cremation Servic

United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA, OKLAHOMA DIVISION

Case number {if known)

1 Check if this is an
amended fiting

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 2s

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of tha document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.

BE °-:<=- and signature

lam the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of tha partnership; or another individual
serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property(Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G)
Schedule H: Codebtors (Official Form 206)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)

Other document that requires a declaration NN

OBOSaBRBEH SE

I declare under penalty of perjury fy iis is true and correct.

Executed on xigngetere’ 7 [1-4x fs! Christopher J. Harrison, Sr.

Signature of Individual signing on behalf of debi

Christopher J. Harrison, Sr.
Printed name NL

Managing Partner

Position or relationship to debtor

Case: 23-11975 Doc:1 Filed: 07/27/23 Page: 22 of 36

fea SELESMUI CLETUS Cele Cone [1st h ma tee etsLctes

Debtorname Heritage Funeral Home & Cremation Servic

United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA, OKLAHOMA DIVISION

Case number (if knawn)

OO Check if this is an
amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/22

The debtor must answer avery question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’s name and case number (if known).

GEESE income

1. Gross revenue from business

O None.
identify the beginning and ending dates of the debtor's fiscal year, Sources of revenue Gross revenue
which may be a calendar year Check ail that apply (before deductions and
exclusions)
From the beginning of the fiscal year to filing date: @ Operating a business $163,693.90
Fram 1/01/2022 to Filing Date
M@ Other Amount Billed
For prior year: I Operating a business $681,248.65

From 1/01/2021 to 12/31/2021
Bother Amount Billed

2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

None.

Description of sources of ravenue Gross revenue from
each source
(before deductions and
exclusions)

GEER List Certain Transfers Made Before Filing for Bankruptcy

3, Certain payments or transfers to creditors within $0 days befora filing this case
List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 80 days before filing this
case unless the aggregate vatue of all property transferred to that creditor is !ess than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years
after that with respect to cases filed on or after the date of adjustment.)

O None.
Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that apply
3.1. Axyom Construction March 2022 $12,000.00 O Secured debt
417 Frisco Ave 0 Unsecured loan repayments
Clinton, OK 73601-3439 DO Suppliers or vendors
D Senices
Mi Other_Roof Repair _
Official Form 207 Statement of Financial Affairs for Non-Indlviduals Filing for Bankruptcy page 1

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Case: 23-11975 Doc:1 _ Filed: 07/27/23 Page: 23 of 36

Debtor Heritage Funeral Home & Cremation Servic Case number i known)
Creditor’s Name and Address Dates Total amount of value Reasons for payment or transfer
32 Check all that apply
“ Ardis Cubit Sercie and Repair May 2022 $21,000.00 1 Secured debt

6201 N Post Oak Rd

Ou ed! 15
Oklahoma City, OK 73105-6427 ve leeoreaee

O Supptiers or vendors
O Services

W@ other HVAC Replacement

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is tess than $7,575. (This amount may ba
adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in fine 3.
insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

O None.

insider's name and address Dates Total amount of value § Reasons for payment or transfer

Relationship to debter

4.1. Christopher J. Harrison, Sr. Weekly over $65,000.00 | Average Weekly payment of
1425 NE 48th St one year $1,250 for running company

Oklahoma City, OK 73111-5823
Managing Partner

4.2. JeKia Harrison June 2021 $4,000.00 orice Work and Funeral
1425 NE 48th St through July Service
Oklahoma City, OK 73111-5823 2021

Daughter of Managing Partner

5. Repossessions, forectosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 5.

0 None

Creditors name and address Describe of the Property Date Value of property
Oklahoma Tax Commission Lockout of business from 1300 N. Lottie April 19, 2022 $0.00
PO Box 26800

Oklahoma City, OK 73126-0800

6. Snetoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
debtor without permission or refused to make a payment at the debtor's direction from an account of the debter because the debtor owed a debt.

HI None
Creditor’s nama and address Description of the action creditor took Date action was Amount
taken
[GERGES Legal Actions or Assignments

7. Lagal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
capacity—within 1 year before filing this case.

C1 None.
Case title Nature of case Court or agency's name and Status of case
Case number address
Official Form 207 Statement of Financtal Affairs for Non-Individuals Fiting for Bankruptcy page 2

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Case: 23-11975 Doc:1_ Filed: 07/27/23 Page: 24 of 36

Debtor Heritage Funeral Home & Cremation Servic Case number ¢ known)
Case title Nature of case Court or agency's name and Status of case
Case number address

7.1. State of Oklahoma, Ex Rel. Injunction/Restrai Oklahoma County HI Pending

Oklahoma Tax Commission ning Order Courthouse CO on appeal
v. Heritage Funeral Home and 320 Robert S Kerr Ave O Conetuded
Cremation Services, LLC., et Oklahoma City, OK
al. 73102-3457
CJ-2020-3556

8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
receiver, custodian, or other court-appointed officer within 1 year before filing this case.

HI None

GEGEEE Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
gifts to that recipient is lass than $1,000

Bi None
Recipient's name and address Description of the gifts or contributions Dates given Value
GEXEERIE Cortain Losses
10. All losses from fire, theft, or cther casualty within 1 year before filing this case.
@ None
Description of the property lostand how Amount of payments received for the loss Dates of kss Value of property
the loss occurred lost
if you have received payments to cover the loss, for
example, from in: go pensation, or

tort liability, list the total received.

List unpaid claims on Official Form 1068A/B (Schedule
A/B: Assets — Real and Personal Property).

GEEZae Certain Payments or Transfers

11, Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this

case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing
a bankruptcy case.

O None.

Who was paid or who received the lf not money, describe any property transferred Dates Total amount or
transfer? value
Address

|
H

Email or website address

Who made the payment, if not debtor?

12. Self-settied trusts of which the debtor is a beneficiary
Official Form 207 Statement of Financial Affairs fer Non-Individuals Filing for Bankruptcy page 3

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Case: 23-11975 Doc:1_ Filed: 07/27/23 Page: 25 of 36

Debtor Heritage Funeral Home & Cremation Servic Case number it known)

List any payments or transfers of property made by the debtar or a person acting on behalf of the debtor within 10 years before the filing of this case to a
self-settled trust or simitar device.
Do not include transfers already listed on this statement.

i None.

Namo of trust or device Describe any property transferred Oates transfors Total amount or
were made value

13. Transfers not already listed on this statement
List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2
years before the fillng of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
outright transfers and transfers made as security. Do not include gifts or transfers previously tisted on this statement.

@ None.
Who received transfer? Description of property transferred or Date transfer was Total amount or
Address payments received or debts paid in exchange made value

TGEREAE Previous Locations

14. Pravious addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

I Does not apply

Address Dates of occupancy
Fram-To

Eta Health Care Bankruptcies

15. Health Care bankruptcies
1s the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

MI Na. Go to Part 9.
O Yes. Fill in the information below.

Facility name and address Nature of the business operation, including type of services the Hf debtor provides meals
debtor provides and housing, number of
patients in debtor's care

Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

O No.
B Yes. State the nature of the information collected and retained.

Full Name; Date of Birth; Sccial Security Number for deceased and
responsible party

Does the debtor have a privacy policy about that information?
O No

Yes

17, Within 6 years before filing this case, have any employees of tha debtor been participants in any ERISA, 401(k), 403(b), or other pension or
profit-sharing plan made avallable by the debtor as an employee benefit?

No. Go to Part 10.
Ds Yes. Does the debtor serve as plan administrator?

(GERELEE Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

Official Form 207 Statement of Financial Affairs for Non-Individuals Fillng for Bankruptcy page 4

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Case: 23-11975 Doc:1 Filed: 07/27/23 Page: 26 of 36

Debtor Heritage Funeral Home & Cremation Servic Case number (it known)

18. Closed financial accounts
Within ‘ year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor’s benefit, closed, sold, moved,
or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
cooperatives, associations, and other financial institutions.

O None
Financial Institution name and Last 4 digits of Type of account or Date account was Last balance before
Address account number instrument closed, sold, closing or transfer
moved, or
transferred
18.1. First Security Bank & Trust XXXX-7797 @ Checking March 29, 2022 $0.00
1541 NE 23rd St C1 Savings
Oklahoma City, OK CO Money Market
73111-3210
O Brokerage
O Other__

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

WI None

Depository institution name and address Names of anyone with access Description of the contents Does debtor still
to it have it?
Address

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which
the debtor does business.

Bi None

Facility name and address Names of anyone with access Description of the contents Does debtor still
to it have it?

Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored fer, or held in trust. Do not list
leased or rented property.

DO Nona
Owner's name and address Leeation of the property Describe the property Value
Christopher J. Harrison, Sr. 1300 N Lottie Ave 2000 Cadillac Deville Hearse $10,000.00
1425 NE 48th St Oklahoma City, OK
Oklahoma City, OK 73111-5823 73117-2000
Owner's name and address Location of the property Describe the property Value
Heritage Funeral Holding Company 1300 N. Lottie Avenue Midfirst Bank Account 8414 $1,200.00

1300 N Lottie Ave
Oklahoma City, OK 73117-2000

Owner's name and address Location of the property Describe the property Value
Heritage Funeral Holding 1300 N Lottie Ave First Security Bank and Trust $2,000.00
1300 N Lottie Ave Oklahoma City, OK Savings

Oklahoma City, OK 73117-2000 73117-2000

Details About Environment Information

Official Form 207 Statement of Financial Affalrs for Nen-indlviduals Fillng for Bankruptcy page §

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Case: 23-11975 Doc:1_ Filed: 07/27/23 Page: 27 of 36

Debtor Heritage Funeral Home & Cremation Servic Case number (i known)

For the purpase of Part 12, the following definitions apply:

Environmental lawmeans any statute or governmental regulation that concems pollution, contamination, or hazardous material, regardless of the medium

affected (air, land, water, or any other medium).

Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debter formerly owned,
operated, or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

M@ No.
O Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be {lable or potentially liable under or in violation of an
environmental law?

MB No.
DO Yes. Provide details betow.
Site name and address Governmental unit name and Environmental law, tf known Bate of netice
address

24. Has the debtor notified any governmental unit of any release of hazardous material?

HB No.
OQ Yes. Provide details betow.
Site name and address Governmental unit name and Environmental law, if known Date of notice
address

Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

Hi None

Business name address Describe the nature of the business Employer Identification number
Do not inctude Social Security number or ITIN.

Dates business existed

26. Books, records, and financial statements
26a, List alt accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

O None

Name and address Date of service
From-To

26a.1. Christopher J. Harrison, Sr.
1425 NE 48th St
Oklahoma City, OK 73111-5823

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement within 2
years before filing this case.

0D None

Official Form 207 Statement of Financial Affairs for Non-individuals Fillng for Bankruptcy page 6

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Case: 23-11975 Doc:1 Filed: 07/27/23 Page: 28 of 36

Debtor Heritage Funeral Home & Cremation Servic Case number (if known)
Name and address Date of service
From-To

26b.1. First Security Bank & Trust April 2021 PPP loan
1541 NE 23rd St
Oklahoma City, OK 73111-3210

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.
OQ None
Namo and address ff any books of account and records are unavailable,

explain why
26c.1. Christopher J. Harrison, Sr.
1425 NE 48th St
Oklahoma City, OK 73111-5823

26d. List alt financial institutions, creditors, and other parties, including mercantile and trade agencies, ta whom the debtor issued a financial statement
within 2 years before fiting this case.

O None

Name and address

264.1. First Security Bank & Trust
1541 NE 23rd St
Oklahoma City, OK 73111-3210

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

M@ No
0 Yes. Give the details about the two most recent inventories.

Name of the person who supervised tha taking of the Data of Inventory The dollar amount and basis (cost, market,
Inventory or other basis) of each Inventory

28. List the debtor's officers, directors, managing members, general partners, members [n control, controlling shareholders, or other people in
control of the debtor at the time of the fillng of this case.

Name Address Position and nature of any interest %of Interest, if
any
Christopher J. Harrison, Sr. 1425 NE 48th St Managing Member 100

Oklahoma City, OK 73111-5823

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members In control
of the debtor, or shareholders in control of the dabtor who no longer hold these positions?

H No
Ol Yes. Identify below,

30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
credits on toans, stock redemptions, and options exercised?

O No
@ Yes. Identify betow.

Namo and address of recipient Amount of money or description and value of Dates Reason for providing
Property the value
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 7

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Case: 23-11975 Doc:1 Filed: 07/27/23 Page: 29 of 36

Debtor Heritage Funeral Home & Cremation Servic Case number if known)
Name and address of recipient Amount of money or description and value of Dates Reason for providing
proparty the value

30.1 Christopher J. Harrison, Sr.

: 1425 NE 48th St
Oklahoma City, OK Operating
73111-5823 Weekly Payment averaging $1,250.00 Weekly Business
Relationship to debtor
Managing Member

30.2. JeKia Harrison

. 1425 NE 48th St June 2021
Oklahoma City, OK through July Office Work and
73111-5823 $4,000 2021 Service
Relationship to debtor

Daughter of Christopher J.
Harrison, Managing Partner

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

HM No
Ol sYes. Identify below.
Name of the parent corporation Employer identification number of the parent
corporation

32, Within 6 years before filing this case, has the debtor as an emptoyer been responsible for contributing to a pansion fund?

M@ No
Ol Yes. tdentify below.
Name of the pension fund Employer Identification number of the pension
fund
GERSEAE Signature and Declaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both,
18 U.S.C. §§ 152, 1341, 1519, and 3571.

| have examined the information in thisStatement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
correct.

is tru

I declare under penalty of perjury that the ref

Z

Executed on

Christopher J. Harrison, Sr.
Printed name

isi Ghristopher J. Harrison,
Signature of individual signing on behalf of th:

Position or relationship to debtor Maywaging Partner

Are additional pages to Statement of Financial Affairs for Non-individuals Filing for Bankruptcy (Official Form 207) attached?
Hi No
O Yes

Official Form 207 Statement of Financial Affairs for Non-individuals Filing for Bankruptcy page 8

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Case: 23-11975 Doc:1 _ Filed: 07/27/23 Page: 30 of 36

United States Bankruptcy Court
Western District of Oklahoma, Oklahoma Division

Inre _ Heritage Funeral Home & Cremation Servic Case No.

Debtor(s) Chapter 11

LIST OF EQUITY SECURITY HOLDERS

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of | Security Class Number of Securities Kind of Interest
business of holder

Christopher J. Harrison, Sr. General 100

1425 NE 48th St Partner

Oklahoma City, OK 73111-5823

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the Managing Partner of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief. ™~

Date =iigabpnene 5/5 7 4 4 Signature /s/ Christopher J. Harrison, Sr. 7]
t Christopher J. Harrison, Sr. CS

Penalty for making a false st tofe ling property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

Sheet 1 of 1 in List of Equity Security Holders
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Case: 23-11975 Doc:1 _ Filed: 07/22/23 Page: 31 of 36

al MCSMSLI EM eee Lan Okereun Una homer ere
Debtor name [Heritage Funeral Home & Cremation Servic
United States Bankruptcy Court for the: WESTERN DISTRICT OF O Check if this is an

OKLAHOMA, OKLAHOMA
DIVISION
Case number (if known): amended filing

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and Namo, telephone number | Nature of claim indicate if claim | Amount of claim

compiete mailing address, | and email address of (for example, trade debis,| is contingent, | If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code creditor contact bank loans, professicnal | untiquidated, or | claim Is partially secured, fill in total claim amount and deductien for
services, and government disputed value of collateral or setoff to. caiculate unsecured cigim.

contracts) Total claim, If Deduction for value | Unsecured claim
partially d of colt lor satoff
Oklahoma Tax Disputed $184,854.82
Commission

PO Box 26800
Oklahoma City, OK
73126-0800
Oklahoma Tax Disputed $83,981.90
Commission

PO Box 26800
Oklahoma City, OK
73126-0800

Green Box Capital Bank loan $27,728.64
2200 Biscayne Blvd
Ste 200

Miami, FL
33137-5016
Oklahoma Mortuary Trade debt $21,260.75
Service
2424 N Oklahoma (405) 606-6160
Ave

Oklahoma City, OK
73105-3005
Oklahoma County $3,082.67
Treasurer

320 Robert S Kerr
307

Oklahoma City, OK
73102

Oklahoma County $3,038.44
Treasurer

320 Robert S Kerr
307

Oklahoma City, OK
73102

Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 1

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Debtor

Case: 23-11975

Heritage Funeral Home & Cremation Servic

Doc: 1

Name

Filed: 07/24/23

Case number (if known)

Page: 32 of 36

Name of creditor and
complete mailing address,
tneluding zip cade

Name, telephone number
and email address of
creditor contact

Nature of claim

(for example, trade debts,
bank toans, professional
services, and government

Indicate if claim
is contingent,
unliquidated, or
disputed

Amount of claim

if the claim Is fully unsecured, fill In only unsecured claim amount. If

ctaim is partially secured, fill in total
value of collateral or setoff to cat

1 claim amount and deduction for

d claim,

Total claim, if
Partially sacured

Deduction for valua
of collateral or setoff

Unsecured claim

Oklahoma County
Treasurer

320 Robert S Kerr
307

Oklahoma City, OK
73102

$3,035.44

Oklahoma County
Treasurer

320 Robert S Kerr
307

Oklahoma City, OK
73102

$3,006.76

Oklahoma County
Treasurer

320 Robert S Kerr
307

Oklahoma City, OK
73102

$2,967.33

Oklahoma County
Treasurer

320 Robert S Kerr
307

Oklahoma City, OK
73102

$2,759.35

Oklahoma Tax
Commission

PO Box 26800
Oklahoma City, OK
73126-0800

$2,468.73

Oklahoma Tax
Commission

PO Box 26800
Oklahoma City, OK
73126-0800

$1,692.60

Oklahoma Tax
Commission

PO Box 26800
Oklahoma City, OK
73126-0800

$1,056.89

Oklahoma Tax
Commission

PO Box 26800
Oklahoma City, OK
73126-0800

$942.10

Oklahoma Tax
Commission

PO Box 26800
Oklahoma City, OK
73126-0800

$730.11

Officia! form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Wha Have the 20 Largest Unsecured claims

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page 2

Debtor

Case: 23-11975

Heritage Funeral Home & Cremation Servic

Doc: 1

Name

Filed: 07/22/23

Case number (if known)

Page: 33 of 36

Name of creditor and
complete mailing address,
Incstuding zip coda

Name, telephone number
and email address of
craditer contact

Nature af claim
(for exampla, trade. debts,
bank loans, professional

indicate [f claim
ts contingent,

Amount of clalm

If the claim Is fully unsecured, fill in only unsecured claim amount. If

untiquidated, or

claim is partlally secured, fill in total claim amount and deduction for
disputed - .

services, and government value of collateral or setoff to calculate ¢ clalm.

Total claim, if Deduction for value | Unsecured clalm
artially secured of collateral or setoff

Oklahoma Tax
Commission

PO Box 26800
Oklahoma City, OK
73126-0800

$649.80

Oklahoma Tax
Commission

PO Box 26800
Oklahoma City, OK
73126-0800

$540.10

Oklahoma Tax $360.61
Commission

PO Box 26800
Oklahoma City, OK

73126-0800

Official form 204 Chapter 11 or Chapter § Casas: List of Creditors Who Have the 20 Largest Unsecured claims page 3

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Case: 23-11975 Doc:1_ Filed: 07/27/23 Page: 34 of 36

United States Bankruptcy Court
Western District of Oklahoma, Oklahoma Division

IN RE: Case No.

Heritage Funeral Home & Cremation Servic Chapter 14
Debtor(s)

VERIFICATION OF CREDITOR MATRIX
The above named debtor(s) hereby verify(ies) that the attached matrix listing creditorsi

vatcrdammamemee: 2 LITA Bias: /s/ Christopher J. Harrison, Sr.

Christopher J. Harrison, Sr., Managing ee Debtor

le ta, the best of m

Date: Signature:

Joint Debtor, if any

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Case: 23-11975 Doc:1_ Filed: 07/27/23

Green Box Capital
220@ Biscayne Blvd Ste 2060
Miami, Florida 33137-5916

Oklahoma County Treasurer
326 Robert S Kerr 307 -
Oklahoma City, Ok 73162

Oklahoma Tax Commission
PO Box 26800
Oklahoma City , Ok 73126 -98ee

Page: 35 of 36
Case: 23-11975 Doc:1_ Filed: 07/27/23 Page: 36 of 36
FORM 7007.1-1 (10/07)

United States Bankruptcy Court
Western District of Oklahoma, Oklahoma Division

IN RE: Case No.
Heritage Funeral Home & Cremation Servic Chapter 11
Debtor(s)

CORPORATE OWNERSHIP STATEMENT

Pursuant to Bankruptcy Rules 1007(a) and Bankruptcy Rule 7007.1, and Local Rules
1007-1, 2003-2, 7007.1-1 and 9014-1(B),

Heritage Funeral Home and Cremation Services, L.L.C.,, a
[Name of Corporate Party]

(check one):

{ ] Corporate Debtor

[ ] Party to an adversary proceeding

[ ] Party to a contested matter

[ ] Member of committee of creditors
makes the following disclosure(s):

All corporations, other than a governmental unit, that directly or indirectly own ten percent
(10%) or more of any class of the corporation's equity interests are listed below:

OR

[X] There are no entities that directly or indirectly own 10% or more pf
corporation's equity interest.

Dated thiswdweday of Jenepall—>

; 07-1543

7 = : 7
<caslew@hutmail.ce

“feterney-tor-Hesitage Funeral Home &
Cremation Servic

